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                                                                        Clerk, U.S. District Court, ILCD
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                               UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF ILLINOIS, SPRINGFIELD DIVISION

JACQUELINE FARRIS,

                        Plaintiff,

v.

ERIK KOHLRUS, WARDEN CHRISTINE
BRANNON, PREA COMPLIANCE MGR
CLARA CHARRON, MENTAL HEALTH
ADMIN NORINE ASHLEY, LISA
JOHNSON, AGENCY PREA
COORDINATOR PATRICK KEANE,
AGENCY PREA COORDINATOR MIKE
FUNK, FELIPE ZAVALA, ALAN PASLEY,
JASMIN WOOLFOLK, CORRECTIONAL                      No. 17-cv-3279
OFFICER MATTHEW MITCHEY,
CORRECTIONAL OFFICER JAMES                         Judge Sue E. Myerscough
BARRY, CORRECTIONAL OFFICER
WILLIAM LEMON, ALEX ADAMS,
DECATUR LIEUTENANT SNYDER,
CORRECTIONAL MAJOR JONES,
CORRECTIONAL OFFICER LOCKE, A
AHART, SEAN WHELTON, LAURA
JACKSON, JOSE RIVERA, WILLIAM
ROBERTS, JAMES DAVIS, ZACHARY
SAPP, JENNIFER BILLINGTON, DILLION
KEARNEY, JEFF GABOR, MARK DELIA,
AMY RUDE AND ILLINOIS
DEPARTMENT OF CORRECTIONS,

                        Defendants.

                ANSWER TO PLAINTIFF’S FIRST AMENDED COMPLAINT
                         WITH AFFIRMATIVE DEFENSES


        COMES NOW the defendant, Amy Rude, by her attorney, CASSIDAY SCHADE

LLP, and pursuant to Rule 7(a)(2) of the Federal Rules of Civil Procedure, hereby

answers the complaint, submits her affirmative defenses, and makes a jury demand. In
support thereof, the following statements are made.

                                        Introduction

          1.    On December 28, 2015, Plaintiff was raped by a correctional officer at

Logan Correctional Center. Her rape occurred under the noses of several correctional

staff who saw the sexual assault and did nothing. In fact, there is a widespread practice

at Logan Correctional Center of failing to intervene to prevent sexual assaults and

sexual harassment against prisoners at Logan, a practice which emboldened Plaintiff’s

rapist.

          RESPONSE:

          Defendant, Amy Rude, has insufficient knowledge to admit or deny the
          allegations contained in ¶1 of plaintiff’s first amended complaint.

          2.    Plaintiff reported to medical staff at the prison that she had been raped.

But rather than take Plaintiff’s complaint seriously, the investigators to whom the

complaint was referred threatened Plaintiff and retaliated against her.

          RESPONSE:

          Defendant, Amy Rude, has insufficient knowledge to admit or deny the
          allegations contained in ¶2 of plaintiff’s first amended complaint.

          3.    Accordingly, Plaintiff brings this action pursuant to 42 U.S.C. § 1983 to

redress the deprivation under color of law of Plaintiff’s rights as secured by the United

States Constitution.

          RESPONSE:

          Defendant, Amy Rude, denies liability, but admits this action is brought
          pursuant to 42 U.S.C. §1983.

                                  Jurisdiction and Venue

          4.    This Court has jurisdiction of the action pursuant to 28 U.S.C. §§ 1331 and



                                              2
1367.

        RESPONSE:

         Defendant, Amy Rude, admits the allegations contained in ¶4 of the first
        amended complaint.

        5.    Venue is proper under 28 U.S.C. § 1391(b). On information and belief

Defendants reside in this judicial district, and the events giving rise to the claims

asserted herein all occurred within this district.

        RESPONSE:

        Defendant, Amy Rude, admits the allegations contained in ¶5 of the first
        amended complaint.

                                           Parties

        6.    In December of 2015, and at all times relevant to the events at issue in

this case, Plaintiff Jacqueline FARRIS, was in the custody of the Illinois Department of

Corrections (IDOC). She was incarcerated at Logan Correctional Center in December

2015, and then transferred to Decatur Correctional Center in January 2016. She

currently remains in custody of IDOC and is housed at the Fox Valley Adult Transition

Center.

        RESPONSE:

        Defendant, Amy Rude, admits the allegations contained in ¶6 of the first
        amended complaint.

        7.    At all times relevant to her involvement in this case, Defendant

CHRISTINE BRANNON was employed by the IDOC in the capacity of Warden of Logan

Correctional Center. As such, Defendant BRANNON was acting under color of law.

Defendant BRANNON is being sued in her individual capacity for the challenged

conduct.



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      RESPONSE:

      Defendant, Amy Rude, admits the allegations contained in ¶7 of the first
      amended complaint.

      8.     At all times relevant to her involvement in this case, Defendant BRANNON

was responsible for the organization and supervision of Logan Correctional Center. In

that capacity, and at all times relevant to her involvement in this case, Defendant

BRANNON promulgated rules, regulations, polices, and procedures as Warden of

Logan Correctional Center to guarantee the reasonable safety of inmates at the facility.

Defendant BRANNON’S rules, regulations, policies and procedures were implemented

by and through the Correctional Officers and Internal Affairs Investigators at Logan

Correctional Center. As Warden, Defendant BRANNON was responsible for, among

other things, ensuring the reasonable safety of inmates, including preventing staff on

inmate violence, such as sexual assaults by guards and the adherence of each facility

to the Prison Rape Elimination Act (“PREA”).

      RESPONSE:

      Defendant, Amy Rude, has insufficient knowledge to admit or deny the
      allegations contained in ¶8 of plaintiff’s first amended complaint.

      9.     Additionally, at all times relevant to the events at issue in this case,

Defendant BRANNON was responsible for the hiring, supervision, training, and

retention of Correctional Officers employed by the Illinois Department of Corrections

and assigned to Logan Correctional Center, including Defendants Logan Correctional

Officers KOHLRUS, WOOLFOLK, MITCHEY, BARRY, LEMON, ADAMS, AHART,

WHELTON, JACKSON, RIVERA, ROBERTS, DAVIS, SAPP, BILLINGTON, and

KEARNEY.




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      RESPONSE:

      Defendant, Amy Rude, has insufficient knowledge to admit or deny the
      allegations contained in ¶9 of plaintiff’s first amended complaint.

      10.    At all times relevant to her involvement in this case, Defendant CLARA

CHARRON was employed by the IDOC in the capacity as the PREA Compliance

Manager at Logan Correctional Center. As such, Defendant CHARRON was acting

under color of law. Defendant CHARRON is being sued in her individual capacity for the

challenged conduct.

      RESPONSE:

      Defendant, Amy Rude, has insufficient knowledge to admit or deny the
      allegations contained in ¶10 of plaintiff’s first amended complaint.

      11.    At all times relevant to her involvement in this case, and in the capacity of

PREA Compliance Manager, Defendant CHARRON was responsible for, among other

things, ensuring the reasonable safety of inmates, including preventing sexual assaults

by guards and adherence by the facility to the PREA. Defendant CHARRON

promulgated rules, regulations, polices, and procedures in regards to PREA which were

implemented by the Warden of Logan Correctional Center, as well as other PREA

Compliance Managers, Correctional Officers at Logan Correctional Center, and Internal

Affairs Investigators at Logan Correctional Center.

      RESPONSE:

      Defendant, Amy Rude, has insufficient knowledge to admit or deny the
      allegations contained in ¶11 of plaintiff’s first amended complaint.

      12.    At all times relevant to her involvement in this case, Defendant NORINE

ASHLEY was employed by the IDOC in the capacity as a Psychologist, Mental Health

Administrator: PREA Compliance Manager. As such, Defendant ASHLEY was acting



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under color of law. Defendant ASHLEY is being sued in her individual capacity for the

challenged conduct.

      RESPONSE:

      Defendant, Amy Rude, admits Norine Ashley was employed by the Illinois
      Department of Corrections as a Psychologist, Mental Health Administrator.
      Defendant has insufficient knowledge to admit or deny the remaining
      allegations contained in ¶12 of plaintiff’s first amended complaint.

      13.    At all times relevant to her involvement in this case, and in the capacity of

a Psychologist, Mental Health Administrator: PREA Compliance Manager, Defendant

ASHLEY was responsible for, among other things, ensuring the reasonable safety of

inmates, including preventing sexual assaults by guards and adherence by the facility to

the PREA. Defendant ASHLEY promulgated rules, regulations, polices, and procedures

in regards to PREA which were implemented by the Warden of Logan Correctional

Center, as well as other PREA Compliance Managers, Correctional Officers at Logan

Correctional Center, and Internal Affairs Investigators at Logan Correctional Center.

      RESPONSE:

      Defendant, Amy Rude, has insufficient knowledge to admit or deny the
      allegations contained in ¶13 of plaintiff’s first amended complaint.

      14.    At all times relevant to her involvement in this case, Defendant LISA

JOHNSON was employed by the IDOC in the capacity as a Back-up to the PREA

Compliance Manager. As such, Defendant JOHNSON was acting under color of law.

Defendant JOHNSON is being sued in her individual capacity for the challenged

conduct.

      RESPONSE:

      Defendant, Amy Rude, admits Lisa Johnson was employed by the Illinois
      Department of Corrections, but has insufficient knowledge to admit or



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       deny the remaining allegations contained in ¶14 of plaintiff’s first amended
       complaint.

       15.    At all times relevant to her involvement in this case, and in the capacity of

Back-up to the PREA Compliance Manager, Defendant JOHNSON was responsible for,

among other things, ensuring the reasonable safety of inmates, including preventing

sexual assaults by guards and adherence by the facility to the PREA. Defendant

JOHNSON promulgated rules, regulations, polices, and procedures in regards to PREA

which were implemented by the Warden of Logan Correctional Center, as well as other

PREA Compliance Managers, Correctional Officers at Logan Correctional Center, and

Internal Affairs Investigators at Logan Correctional Center.

       RESPONSE:

       Defendant, Amy Rude, has insufficient knowledge to admit or deny the
       allegations contained in ¶15 of plaintiff’s first amended complaint.

       16.    At all times relevant to their involvement in this case, PATRICK KEANE

and MIKE FUNK, as Agency PREA Coordinators, were responsible for, among other

things, developing, implementing, and overseeing Illinois Department of Corrections

efforts to comply with PREA standards in all of its facilities, including Logan Correctional

Center.

       RESPONSE:

       Defendant, Amy Rude, admits Patrick Keane was a PREA Coordinator for
       the Illinois Department of Corrections, but has insufficient knowledge to
       admit or deny the remaining allegations contained in ¶16 of plaintiff’s first
       amended complaint.

       17.    At all times relevant to their involvement in this case, and in the capacity of

Agency PREA Coordinators, Defendants KEANE and FUNK promulgated rules,

regulations, polices, and procedures in regards to PREA which were implemented by



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the facilities in IDOC, including the Warden of Logan Correctional Center, as well as

other PREA Compliance Managers, Correctional Officers at Logan Correctional Center,

and Internal Affairs Investigators at Logan Correctional Center.

      RESPONSE:

      Defendant, Amy Rude, has insufficient knowledge to admit or deny the
      allegations contained in ¶17 of plaintiff’s first amended complaint.

      18.    At all times relevant to their involvement in this case, FELIPE ZAVALA

and ALLEN PASLEY, as Back-Up Agency PREA Coordinators, were responsible for,

among other things, providing assistance to the Agency PREA Coordinators in

developing, implementing, and overseeing Illinois Department of Corrections efforts to

comply with PREA standards in all of its facilities, including Logan Correctional Center.

      RESPONSE:

      Defendant, Amy Rude, has insufficient knowledge to admit or deny the
      allegations contained in ¶18 of plaintiff’s first amended complaint.

      19.    At all times relevant to their involvement in this case, and in the capacity of

Back-Up Agency PREA Coordinators, Defendants ZAVALA and PASLEY promulgated

rules, regulations, polices, and procedures in regards to PREA which were implemented

by the facilities in IDOC, including the Warden of Logan Correctional Center, as well as

other PREA Compliance Managers, Correctional Officers at Logan Correctional Center,

and Internal Affairs Investigators at Logan Correctional Center.

      RESPONSE:

      Defendant, Amy Rude, has insufficient knowledge to admit or deny the
      allegations contained in ¶19 of plaintiff’s first amended complaint.

      20.    On or about December 28, 2015, and at all times relevant to their

involvement in this case, Defendants Logan Correctional Center Case Investigator



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JEFF GABOR and Logan Correctional Center Chief of Investigations and Intelligence

MARK DELIA were employed by the IDOC and worked at Logan Correctional Center.

As such, these Defendants were acting under color of law and within the scope of their

employment with IDOC and are sued in their individual capacities. Defendants Logan

Correctional Center Case Investigator JEFF GABOR and Logan Correctional Center

Chief of Investigations and Intelligence MARK DELIA were responsible for, among other

things, ensuring the equitable enforcement of rules and regulations promulgated by the

Warden during Internal Affairs investigations, including the rules and regulations aimed

at investigating sexual assaults by guards and adherence by Logan Correctional Center

to the PREA.

     RESPONSE:

      Defendant, Amy Rude, has insufficient knowledge to admit or deny the
      allegations contained in ¶20 of plaintiff’s first amended complaint.

      21.      On or about December 28, 2015, and at all times relevant to her

involvement in this case, Defendant AMY RUDE, L.C.S.W. was employed at Logan

Correctional Center in the position of a Social Worker. As such, Defendant RUDE was

acting under color of law and within the scope of her employment and is sued in her

individual capacity. Defendant RUDE was responsible for, among other things, ensuring

effective and equitable mental health treatment and mental health classifications of

inmates housed at Logan Correctional Center.

      RESPONSE:

      Defendant, Amy Rude, admits she was acting under color of law and
      within the scope of her employment on December 28, 2015. Defendant
      also admits that, at certain times relevant to the complaint, she was
      assigned to Logan Correctional Center, but denies she was a Social
      Worker. Defendant admits she is responsible for the delivery of mental



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       health services to some inmates, but denies ¶21 of plaintiff’s first amended
       complaint sets forth an accurate description of her duties. Defendant has
       insufficient knowledge to admit or deny to what extent or in what capacity
       plaintiff brings suit.

       22.    On or about December 28, 2015, and at all times relevant to their

involvement in this case, Defendants Logan Correctional Officers KOHLRUS,

WOOLFOLK, MITCHEY, BARRY, LEMON, ADAMS, AHART, WHELTON, JACKSON,

RIVERA, ROBERTS, DAVIS, SAPP, BILLINGTON, and KEARNEY were employed by

the IDOC and worked at Logan Correctional Center. As such, these Defendants were

acting under color of law and within the scope of their employment with IDOC and are

sued in their individual capacities.

       RESPONSE:

       Defendant, Amy Rude, admits Woolfolk was a Correctional Officer at
       Logan Correctional Center, but has insufficient knowledge to admit or
       deny the remaining allegations contained in ¶22 of plaintiff’s first amended
       complaint.

       23.    Defendants     Logan     Correctional   Officers   KOHLRUS,   WOOLFOLK,

MITCHEY, BARRY, LEMON, ADAMS, AHART, WHELTON, JACKSON, RIVERA,

ROBERTS, DAVIS, SAPP, BILLINGTON, and KEARNEY were responsible for, among

other things, ensuring the control and safety of all inmates housed at Logan

Correctional Center, including Plaintiff.

       RESPONSE:

       Defendant, Amy Rude, has insufficient knowledge to admit or deny the
       allegations contained in ¶23 of plaintiff’s first amended complaint.

       24.    On or about May of 2016, Defendants SNYDER, LOCKE, and JONES

were employed by the IDOC and worked at Decatur Correctional Center. As such, these

Defendants were acting under color of law and within the scope of their employment



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with IDOC and are sued in their individual capacities. Defendants SNYDER, LOCKE,

and JONES were responsible for, among other things, discipline of inmates and internal

affairs investigations at Decatur Correctional Center, including the discipline and

investigation of disciplinary infractions alleged against Plaintiff.

        RESPONSE:

        Defendant, Amy Rude, admits Snyder and Locke were employed by the
        Illinois Department of Corrections at Decatur Correctional Center.
        Defendant has insufficient knowledge to admit or deny the allegations
        contained in ¶24 of plaintiff’s first amended complaint.

        25.   Defendant ILLINOIS DEPARTMENT OF CORRECTIONS (IDOC) is the

Illinois state agency responsible for the operation of various correctional facilities

throughout the State of Illinois, including Logan Correctional Center and Fox Valley

Adult Transition Center. Defendant IDOC is a governmental subdivision of the State of

Illinois.

        RESPONSE:

        Defendant, Amy Rude, admits the allegations contained in ¶25 of plaintiff’s
        first amended complaint.

                                    Factual Allegations

        26.   Plaintiff entered Logan Correctional Center on December 4, 2015. She

had been sentenced to 180 days in the Boot Camp facility (equating to 120 days with

good time credits, less time already served). Her sentence included a provision that if

she did not complete Boot Camp, she would face a six year incarceration. Plaintiff was

intent on completing her sentence at Boot Camp in 120 days, without any delay, and

returning home to her two young boys.




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       RESPONSE:

       Defendant, Amy Rude, admits plaintiff entered Logan Correctional Center
       on December 4, 2015. Defendant denies plaintiff was sentenced to boot
       camp. Defendant has insufficient knowledge to admit or deny the
       remaining allegations contained in ¶26 of plaintiff’s first amended
       complaint.

       27.    Once at Logan Correctional Center, and as part of being placed in “Boot

Camp Status,” Plaintiff was permitted to change out of the standard prison garb and

wear sweatpants and a sweatshirt labeled “Boot Camp.” She, along with other women

being sent to Boot Camp, were housed in a unit separate from the general population

and were expected to perform all tasks around the prison, such as serve food trays,

clean the laundry, clean the units, and generally help out around the prison while

waiting for availability at the Boot Camp to open. Because of their status, the inmates,

including Plaintiff, were permitted to leave their cell doors unlocked at all times and

come and go throughout the facility as needed, and at the direction of the correctional

officers, to complete their tasks.

       RESPONSE:

       Defendant, Amy Rude, denies the allegations contained in ¶27 of plaintiff’s
       first amended complaint.

       28.    In and around December of 2015, Defendant KOHLRUS was employed as

a Correctional Officer and was assigned to the third shift in Plaintiff’s unit. Defendant

KOHLRUS initiated contact with Plaintiff. While conducting cell checks, Defendant

KOHLRUS would bang his flashlight against Plaintiff’s cell door, and instruct Plaintiff to

meet him at the cell door to talk. On at least one occasion, Defendant KOHLRUS

instructed Plaintiff to undress so that he could watch.




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       RESPONSE:

       Defendant, Amy Rude, has insufficient knowledge to admit or deny the
       allegations contained in ¶28 of plaintiff’s first amended complaint.

       29.    On one occasion, Defendant KOHLRUS explained to Plaintiff that

because he was being reassigned to a different area of the prison where they would not

see each other, he had a plan to meet her in the laundry room during his shift.

       RESPONSE:

       Defendant, Amy Rude, has insufficient knowledge to admit or deny the
       allegations contained in ¶29 of plaintiff’s first amended complaint.

       30.    Defendant KOHLRUS’ plan to meet Plaintiff in the laundry room during his

shift necessitated the knowledge and agreement of Defendants Logan Correctional

Officers WOOLFOLK, MITCHEY, BARRY, LEMON, ADAMS, AHART, WHELTON,

JACKSON, RIVERA, ROBERTS, DAVIS, SAPP, BILLINGTON, and KEARNEY who

were aware of his whereabouts in the prison during his shift and permitted his plan with

Plaintiff to unfold without interruption.

       RESPONSE:

       Defendant, Amy Rude, has insufficient knowledge to admit or deny the
       allegations contained in ¶30 of plaintiff’s first amended complaint.

       31.    Following Defendant KOHLRUS’ directions, Plaintiff met with him in the

laundry room on December 28, 2015. When Defendant KOHLRUS made sexual

advances towards her, Plaintiff became scared and nervous. She ran back to her cell.

       RESPONSE:

       Defendant, Amy Rude, has insufficient knowledge to admit or deny the
       allegations contained in ¶31 of plaintiff’s first amended complaint.

       32.    Defendant KOHLRUS followed Plaintiff back to her cell. He told her, “I




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have a plan” and “I want you to come back down,” or words to that effect. Plaintiff

complied.

       RESPONSE:

       Defendant, Amy Rude, has insufficient knowledge to admit or deny the
       allegations contained in ¶32 of plaintiff’s first amended complaint.

       33.    While back in the laundry room, Plaintiff could see Defendants Logan

Correctional Officers WOOLFOLK, MITCHEY, BARRY, LEMON, ADAMS, AHART,

WHELTON, JACKSON, RIVERA, ROBERTS, DAVIS, SAPP, BILLINGTON, and

KEARNEY working in the “bubble” or control tower. At no point did any of these

Defendants intervene and / or stop Defendant KOHLRUS’ actions.

       RESPONSE:

       Defendant, Amy Rude, has insufficient knowledge to admit or deny the
       allegations contained in ¶33 of plaintiff’s first amended complaint.

       34.     Defendant KOHLRUS engaged Plaintiff in non-consensual sexual acts.

Afterwards he said words to the effect of “good girl” and reminded Plaintiff that she

would not go to boot camp if she told anyone.

       RESPONSE:

       Defendant, Amy Rude, has insufficient knowledge to admit or deny the
       allegations contained in ¶34 of plaintiff’s first amended complaint.

       35.    Plaintiff was unprepared for what had occurred in the laundry room. She

confided in the nurse at Logan Correctional Center, and then later the Medical Director.

Plaintiff consented to a rape kit.

       RESPONSE:

       Defendant, Amy Rude, has insufficient knowledge to admit or deny the
       allegations contained in ¶35 of plaintiff’s first amended complaint.




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      36.      Plaintiff was then instructed to speak with Logan Correctional Center Case

Investigator JEFF GABOR and Logan Correctional Center Chief of Investigations and

Intelligence MARK DELIA, who yelled and threatened her that she was going to get hit

with extra charges if the rape kit did not come back positive. Scared, Plaintiff told the

Defendants GABOR and DELIA that she had consented to Defendant KOHLRUS’

actions.

      RESPONSE:

      Defendant, Amy Rude, has insufficient knowledge to admit or deny the
      allegations contained in ¶36 of plaintiff’s first amended complaint.

      37.      Based on her reporting, Plaintiff was then placed in isolation. At no point

during her time in isolation was she afforded the opportunity to challenge her

confinement.

      RESPONSE:

      Defendant, Amy Rude, has insufficient knowledge to admit or deny the
      allegations contained in ¶37 of plaintiff’s first amended complaint.

      38.      The isolation unit was intense. Plaintiff—although not suicidal—was

confined to a cell alongside women who were placed on suicide watch. The women had

obvious mental health problems and, with cells that you could see straight into, Plaintiff

had no privacy from their experiences.

      RESPONSE:

      Defendant, Amy Rude, has insufficient knowledge to admit or deny the
      allegations contained in ¶38 of plaintiff’s first amended complaint.

      39.      Plaintiff did not forget that she was sentenced to Boot Camp, and

remained focused on getting home to her children. She was persistent in asking when

she would be let out of segregation, but received no information, and no paperwork, in



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regards to her continued detention or the Internal Affairs Investigation into the rape.

       RESPONSE:

       Defendant, Amy Rude, has insufficient knowledge to admit or deny the
       allegations contained in ¶39 of plaintiff’s first amended complaint.

       40.    Plaintiff was offered anti-anxiety medication while in segregation. At first

she refused, but the stress of the unit and the lack of information regarding her situation

bore down on her. Eventually she capitulated and took the anti-anxiety medication.

       RESPONSE:

        Defendant, Amy Rude, admits that plaintiff took anxiety medication.
       Defendant has insufficient knowledge to admit or deny the remaining
       allegations contained in ¶40 of plaintiff’s first amended complaint.

       41.    Once Plaintiff accepted the anti-anxiety medication, she was then

informed by Defendants that she was no longer eligible for Boot Camp due to her

mental health status.

       RESPONSE:

       Defendant, Amy Rude, denies the allegations contained in ¶41 of plaintiff’s
       first amended complaint.

       42.    Plaintiff was forced by Defendants GABOR and DELIA to sign a statement

that she would not discuss the Internal Affairs Investigation relating to Defendant

KOHLRUS’ actions—despite not being provided with any information on the

investigation, including whether the investigation concluded and what the findings were.

       RESPONSE:

       Defendant, Amy Rude, has insufficient knowledge to admit or deny the
       allegations contained in ¶42 of plaintiff’s first amended complaint.

       43.    Plaintiff was sent to Decatur Correctional Center on January 21, 2016.

Plaintiff was disciplined at Decatur Correctional Center by Defendants SNYDER,



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LOCKE, and JONES after alleging discussing the incident.

      RESPONSE:

      Defendant, Amy Rude, has insufficient knowledge to admit or deny the
      allegations contained in ¶43 of plaintiff’s first amended complaint.

      44.    Plaintiff left Decatur Correctional Center on July 12, 2017 and is currently

housed at Fox Valley Adult Transition Center.

      RESPONSE:

      Defendant, Amy Rude, has insufficient knowledge to admit or deny the
      allegations contained in ¶44 of plaintiff’s first amended complaint.

                                     Count I
             42 U.S.C. § 1983 – Excessive Force (Eighth Amendment)
                           Against Defendant KOHLRUS

      RESPONSE:

      Count I is not directed at defendant, Amy Rude, and therefore she makes
      no response to this Count.


                                     Count II
             42 U.S.C. § 1983 – Due Process (Fourteenth Amendment)
                           Against Defendant KOHLRUS

      RESPONSE:

      Count II is not directed at defendant, Amy Rude, and therefore she makes
      no response to this Count.

                                  Count III
                  42 U.S.C. § 1983 – Deliberate Indifference
Against Defendants BRANNON, CHARRON, ASHLEY, JOHNSON, KEANE, FUNK,
                           ZAVALA, and PASLEY

      RESPONSE:

      Count III is not directed at defendant, Amy Rude, and therefore she makes
      no response to this Count.




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                                 Count IV
                   42 U.S.C. § 1983 - Failure to Intervene
  Against Defendants WOOLFOLK, MITCHEY, BARRY, LEMON, and ADAMS,
AHART, WHELTON, JACKSON, RIVERA, ROBERTS, DAVIS, SAPP, BILLINGTON,
                               and KEARNEY

       RESPONSE:

       Count IV is not directed at defendant, Amy Rude, and therefore she
       makes no response to this Count.

                                  Count V
                       42 U.S.C. § 1983 – Conspiracy
  Against Defendants KOHLRUS, WOOLFOLK, MITCHEY, BARRY, LEMON, and
   ADAMS, AHART, WHELTON, JACKSON, RIVERA, ROBERTS, DAVIS, SAPP,
                        BILLINGTON, and KEARNEY

       RESPONSE:

       Count VII is not directed at defendant, Amy Rude, and therefore she
       makes no response to this Count.

                                   Count VI
           42 U.S.C. § 1983 – Due Process (Fourteenth Amendment)
Against Defendants BRANNON, CHARRON, ASHLEY, JOHNSON, RUDE, GABOR
                                  and DELIA

       72.    Plaintiff incorporates each paragraph of this Complaint as if fully restated

herein.

       RESPONSE:

       Defendant, Amy Rude repeats and realleges her responses to the first
       amended complaint as if fully restated herein.

       73.    As stated more fully above, following the rape and Plaintiff’s subsequent

report, Plaintiff was placed in isolation and denied Boot Camp status. The conditions

that Plaintiff experienced in isolation, including her eventual denial of Boot Camp status,

were atypical and significantly imposed such a hardship on her that the risk of having to

endure those conditions triggered a liberty interest requiring due process.




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       RESPONSE:

       Defendant, Amy Rude, denies the conditions plaintiff experienced were
       atypical and significantly imposed such a hardship on her that the risk of
       having to endure those conditions triggered a liberty interest requiring due
       process. Defendant has insufficient knowledge to admit or deny the
       remaining allegations contained in ¶73 of the first amended complaint.

       74.    Defendants failed to provide Plaintiff with due process before depriving her

of that liberty interest. Specifically, Plaintiff had no hearing and no opportunity to dispute

her continued confinement or denial from Boot Camp.

       RESPONSE:

       Defendant, Amy Rude, denies that she had any authority to provide
       plaintiff with a hearing; denies that plaintiff was entitled to a hearing to
       determine whether to be placed in boot camp; and denies that plaintiff was
       deprived of a liberty interest. Defendant has insufficient knowledge to
       admit or deny the remaining allegations contained in ¶74 of the first
       amended complaint.

       75.    The misconduct committed by Defendants were not random and

unauthorized, but instead were the foreseeable result of the policies and practices of

Defendants BRANNON, CHARRON, ASHLEY, and JOHNSON, as well as Defendants

RUDE, GABOR and DELIA.

       RESPONSE:

       Defendant, Amy Rude, denies that she engaged in misconduct or that her
       actions were the foreseeable result of policies and practices set forth by
       the Illinois Department of Corrections or its employees. Defendant has
       insufficient knowledge to admit or deny the remaining allegations
       contained in ¶75 of the first amended complaint.

       76.    Specifically, in December 2015, and for a period of time prior thereto,

Defendants BRANNON, CHARRON, ASHLEY, and JOHNSON, were responsible for

the creation, implementation, oversight, and supervision of all policies and procedures

followed by IDOC employees at Logan Correctional Center as they related to PREA



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violations and staff-on-inmate violence, including the investigation and discipline of

inmates who make such reports. In December 2015, and for a period of time prior

thereto, Defendants BRANNON, CHARRON, ASHLEY, and JOHNSON knew or should

have known of a widespread practice at Logan Correctional Center that limited inmates’

due process rights who made reports of PREA violations and staff-on-inmate violence

by way of direct reporting, annual PREA Compliance Reports, John Howard Association

Investigations and Reports, grievances, training, reports from counselors, internal affairs

investigatory reports, meetings, and lawsuits.

       RESPONSE:

       Defendant, Amy Rude, has insufficient knowledge to admit or deny the
       allegations contained in ¶76 of the first amended complaint.

       77.    The above-described widespread practice, so well-settled as to constitute

a de facto policy of Defendants BRANNON, CHARRON, ASHLEY, and JOHNSON was

able to exist and thrive through the Defendants RUDE, GABOR and DELIA because

Defendants BRANNON, CHARRON, ASHLEY, and JOHNSON, who had authority over

the same, exhibited deliberate indifference to the problem. Defendants BRANNON,

CHARRON, ASHLEY, and JOHNSON manifested deliberate indifference to these

constitutional violations taken by the Defendants RUDE, GABOR and DELIA by failing

to take reasonable measures to remedy these violations. Among other things,

Defendants BRANNON, CHARRON, ASHLEY, and JOHNSON failed to adequately

train, supervise, control, and discipline, including terminate, the Defendants RUDE,

GABOR and DELIA who engaged, or were accused of engaging in, due process

violations, thus directly encouraging future abuses such as those affecting Plaintiff. In

this way, Defendants BRANNON, CHARRON, ASHLEY, and JOHNSON directed, knew



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about, facilitated, approved, condoned, and consented to the conduct that caused the

violation of Plaintiff’s constitutional rights, and violated Plaintiffs rights by maintaining

policies and practices that were the moving force driving the foregoing constitutional

violations.

       RESPONSE:

       Defendant, Amy Rude, denies the allegations contained in ¶77 of the first
       amended complaint.

       78.    As a direct and proximate result of Defendants’ misconduct, Plaintiff’s

rights were violated and she experienced injuries, including emotional distress.

       RESPONSE:

       Defendant, Amy Rude, denies the allegations contained in ¶78 of the first
       amended complaint.

                                   Count VII
               42 U.S.C. § 1983 – Retaliation (First Amendment)
Against Defendants BRANNON, CHARRON, ASHLEY, JOHNSON, GABOR, DELIA,
                        SNYDER, LOCKE, and JONES

       RESPONSE:

       Count VII is not directed at defendant, Amy Rude, and therefore she
       makes no response to this Count.

                                    Count VIII
              42 U.S.C. § 12132—Americans with Disabilities Act Claim
                              Against Defendant IDOC

       RESPONSE:

       Count VIII is not directed at defendant, Amy Rude, and therefore she
       makes no response to this Count.

                                       Count IX
                     29 U.S.C. § 794(a)—Rehabilitation Act Claim
                               Against Defendant IDOC

       RESPONSE:



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        Count IX is not directed at defendant, Amy Rude, and therefore she
        makes no response to this Count.

                                             Count X
                             Illinois State Law – Assault & Battery
                                  Against Defendant KOHLRUS

        RESPONSE:

        Count X is not directed at defendant, Amy Rude, and therefore she makes
        no response to this Count.

                                             Count XI
                               Illinois State Law – Sexual Abuse
                                  Against Defendant KOHLRUS

        RESPONSE:

        Count XI is not directed at defendant, Amy Rude, and therefore she
        makes no response to this Count.

                                         Count XII
             Illinois State Law – Intentional Infliction of Emotional Distress
                              Against Defendant KOHLRUS

        RESPONSE:

        Count XII is not directed at defendant, Amy Rude, and therefore she
        makes no response to this Count.

DEFENDANT DEMANDS TRIAL BY JURY

                                    AFFIRMATIVE DEFENSES

        1.      Defendant is protected from suit by the doctrine of qualified immunity.1 At

all times relevant herein, defendant acted in good faith in the performance of her official

duties and without violating plaintiff's clearly established statutory or constitutional rights


        1                                                                                th
         Defendant acknowledges in Estate of Clark v. Walker, 865 F.3d 544, 550-51 (7 Cir. 2017), the
Seventh Circuit rejected qualified immunity for contractual government employees. To the extent any
State defendants are entitled to qualified immunity because the law is not clearly established, defendant,
Amy Rude, should be entitled to the same protection. Defendant asserts this defense to preserve it for
appeal.



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of which a reasonable person would have known.

        2.    At all times relevant herein, defendant acted in good faith and in

conformity with existing precedent. She is, therefore, entitled to good faith immunity

from damages. Wyatt v. Cole, 504 U.S. 158, 169 (1992).

        3.    To the extent plaintiff has failed to exhaust her administrative remedies

prior to initiating bringing this action, her claims are barred by Section 1997e(a) of the

Prison Litigation Reform Act.

        4.    To the extent plaintiff’s claims for relief accrued more than two years prior

to initiation of this case, they are barred by the applicable statute of limitations.

        5.    At all times relevant herein, defendant’s duties were limited to those that

were delegated to her by her employer and that her employer voluntarily undertook

pursuant to its contract with the Illinois Department of Corrections.

DEFENDANT DEMANDS TRIAL BY JURY AS TO HIS AFFIRMATIVE DEFENSES

        WHEREFORE, for the above reasons, defendant, Amy Rude, respectfully

requests this honorable Court deny plaintiff any relief in this matter and grant defendant

judgment as to all matters and any other relief deemed appropriate, including cost of

suit.

                                            Respectfully submitted,

                                            AMY RUDE,
                                                 Defendant,

                                            CASSIDAY SCHADE LLP,
                                                 Attorneys for Defendant,

                                            By: /s/ Karen L. McNaught




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                               CERTIFICATE OF SERVICE

       Under penalties as provided by law pursuant to 735 ILCS 5/1-109, I certify that

the statements set forth herein are true and correct and on March 19, 2018, I caused a

copy of the foregoing Answer to Plaintiff’s First Amended Complaint with Affirmative

Defenses to be filed with the Clerk of the Court using the CM/ECF system, which sends

a “Notice of E-Filing” to the following:

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                                                  /s/ Karen L. McNaught


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